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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

 

HoUsToN DIVISION

UNITED sTATEs oF AMERICA § 1 7 CR 7 2 9

- §
vs. § CRIMINAL NO.

§
XAVIER RENALDO HAYWOOD, § Uuitsr.l $rat_es Ca:ir_'-§_
Defendant. § ' Southem tituspr of haas
l]tll 'i ii Z`.Ull
CRIMINAL INDICTMENT
THE GRAND JURY CHARGES THAT: ~°°"""'B"d‘°¥' °'°'“°'°°““
CoUNT oNE
(Sex Traff"lcking)

On or between December l, 2016, and January 31, 2017, Within the Southern Dist.rict

of Texas, l
XAvIER RENALDO HAYWO`ol),

defendant herein, in and affecting interstate commerce, knowingly recruited, enticed, harbored,
transported, provided, obtained, advertised, maintained, patronized and solicited by any means a
person, namely a minor female known as Minor Victim l, who had attained the age of 14, but was
under 18 , and benefitted financially and by receiving anything of value from participation in a
venture Which has engaged in recruiting, enticing, harboring, transporting, providing, obtaining,
advertising, maintaining and soliciting by any means l\/[inor Victim l, knowing and in reckless
disregard of the fact that:` (l) means of force, threats of force, fraud, and coercion, and any
combination of such means, Would be used to cause Minor Victim l to engage in a commercial sex

act, and; (2) that Minor Victim 1 had not attained the age of 18 years and Would be caused to engage

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in a commercial sex;
In violation of Title 18, United States Code, Section 1591(3), (b)(l) and (2) and 2.

NoTICE oF FoRFEITURE
18 U.s.c. § 2253(3)

Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States gives
the defendant notice that in the event of conviction for the offenses charged in Count One of the
Indictinent, the United States Will seek to forfeit all property, real and personal, constituting or
traceable to gross profits or other proceeds obtained from the offenses charged in Count One,' and all
property, real and personal, used or intended to be used to commit or to promote the commission of
the offenses charged in Count One, or any property traceable to such property, including but not

limited to, the following:

LG cell phone, model L8675, S/N 602CYGW086371.

A True Bill:
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OR|G|NAL S|GNATURE ON F|LE

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ABE MARTH\IEZ
Acting United States Attorney

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Shern` L. Zack
Assistant United States Atto y
713-567-9374

 

